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 8                             UNITED STATES DISTRICT COURT
                             DISTRICT OF NORTHERN CALIFORNIA
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   COURTNEY MCMILLIAN and RONALD                         Case No. 3:23-cv-03461-JCS
11 COOPER

12                 Plaintiffs,
13                                                       [PROPOSED] ORDER FOR JOINT
          v.                                             MOTION FOR RELIEF FROM CASE
14                                                       MANAGEMENT SCHEDULE
   X CORP., f/k/a/ TWITTER, INC., X                      PURSUANT TO CIVIL L.R. 16-2(d)
15 HOLDINGS, ELON MUSK, Does,

16
                   Defendants.
17

18         Upon consideration of Parties’ Joint Motion for Relief from Case Management Schedule,

19 it is hereby ORDERED that the Parties shall file and brief any Rule 12 motions according to the

20 schedule below, and that the Case Management Schedule and related deadlines in this matter are

21 vacated and reset in accordance with Parties’ proposed schedule.

22                        Filing                                         Deadline

23     Defendants’ Responsive Pleading/Rule 12                        January 9, 2024

24                       Motion

25               Plaintiffs’ Opposition                           February 9, 2024

26                 Defendants’ Reply                              February 23, 2024

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28                                                 Case No. 3:23-cv-03461-JCS
        [PROPOSED] ORDER FOR JOINT MOTION FOR RELIEF FROM CASE
                        MANAGEMENT SCHEDULE
                                   1
     Case 3:23-cv-03461-JCS Document 16-1 Filed 10/27/23 Page 2 of 2


 1
                          Event                              Prior Date           Proposed Date
 2
     Last day to:                                        October 27, 2023      January 25, 2024
 3      • Meet and confer re: initial disclosures, early
            settlement, ADR process selection, and
 4
            discovery plan
 5
        •   File ADR Certification signed by Parties
 6          and Counsel

 7   Last day to file Rule 26(f) Report, complete initial
     disclosures or state objection in Rule 26(f) Report November 10, 2023     February 8, 2024
 8   and file Case Management Statement per Standing
     Order re Contents of Joint Case Management
 9   Statement
10   Initial Case Management Conference                 November 17, 2023      March 8, 2024
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14 IT IS SO ORDERED, on this the _______ day of ___________________, 20__.

15                                     ________________________________
16                                     The Honorable Joseph C. Spero
17                                     Magistrate Judge
                                       U.S. District Court for the Northern District of California
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28                                                Case No. 3:23-cv-03461-JCS
       [PROPOSED] ORDER FOR JOINT MOTION FOR RELIEF FROM CASE
                       MANAGEMENT SCHEDULE
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